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    8
                             IN THE SUPERIOR COURT OF THE STATE OF CALIFORNIA
    9
                                        IN AND FOR THE COUNTY OF RIVERSIDE
10

11

12
        MICHAEL BARBER,                                               Case No:
13
                                  Plaintiff,
14                                                                    COMPLAINT FOR DAMAGES
                  v.

15
        CITY OF RIVERSIDE,          RIVERSIDE    POLICE      )
16      DEPARTMENT, and DOES 1 to 25, Inclusive                  )

1
                                  Defendants.
18


19

20
                  COMES NOW, the Plaintiff, MICHAEL BARBER, and for his causes of action against the
21
        Defendants     and each of them allege as follows:
22
                  1.      Plaintiff is unaware of the true names and capacities of each Defendant sued herein as
23
        Does 1 through 25, inclusive, and therefore sues these Defendants by such fictitious names. Plaintiff
24
        will amend the complaint to allege the true names and capacities when they are ascertained. Plaintiff is
25
        informed and believes and, on that basis, alleges that each of the fictitiously named Defendants is liable
26
        in the manner set forth below for the acts, conduct and/ or omissions concerning the events and
27
        happenings herein referred to, which proximately caused the damages and injuries to Plaintiff as alleged
28
        herein.



                                                                 I.

        COMPLAINT FOR DAMAGES
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 1                                                   JURISDICTION                AND VENUE

2
                 1.      This Court has   jurisdiction   over   this    matter   pursuant   to   Article VI, § 10 of the
3
      Constitution     of the State of California.
4

 5              2.        Venue is proper in the County of Riverside in that PLAINTIFF is a resident of this
 6
      County, part of the wrongs alleged herein occurred within this County, and DEFENDANTS are located
 7
      in and/ or transact business within this County.
 8
                 3.       Plaintiff has been damaged in an amount in excess of the jurisdictional amount of this
 9

      Court.
10

11                                                         THE PARTIES

12               4.       Plaintiff, MICHAEL BARBER (            sometimes       referred   to as "   Barber"   or"   Plaintiff'),   was



13
      and is a resident of the County of Riverside, State California. During the entire period of time at issue in
14
      this lawsuit, PLAINTIFF resided in Riverside County, State of California.
15
                 5.       Defendants, City of Riverside and Riverside Police Department, and DOES 1 to 25, and
16
      each of them, and at all times mentioned herein were political subdivisions of the State of California.
17

18               6.       Defendant, Riverside Police Department, is and at all times mentioned herein was, a law

19    enforcement agency organized and existing under the Municipal Code and Charter of the City of
70    Riverside,      and the laws of the State of California.


21               7.       Defendants, Does 1 to 25, Inclusive, were at all times mentioned herein, employed by the

22    City of Riverside, as police officers for Riverside Police Department and were acting within the course
23        and scope of their employment and under color of law.

24               8.       Plaintiff is informed and believes and, on that basis, alleges that at all times and places

25        mentioned herein each Defendant was the agent, representative and/ or employee of each of the remaining

26        Defendants, and was acting within the course and scope of said agency, representation and/ or employment.
27

28   //




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          COMPLAINT     FOR DAMAGES
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 1          9.         Plaintiff has complied with the California Tort Claims Act, California Government Code

2    Sections 910 et seq. The claim was served on July 1, 2021, and rejected on August 13, 2021.
3            10.       The   events
                                      giving   rise   to   this   complaint   occurred   in   the   City   of Riverside,   County of

4    Riverside, State of California.

5                    FACTUAL ALLEGATIONS COMMON TO ALL CAUSES OF ACTION

6            11.       Plaintiff is a young African American entrepreneur who has been and is being
7    harassed and singled out by Riverside Police Officers. Specifically. Plaintiff was subjected to a
 8   racially discriminatory traffic stop when he was pulled over without cause and cited on or about
 9   March 22,       2021.   More, on another occasion just days before the aforementioned occasion,
10   Plaintiff was slopped in Hemet, California. Further, Plaintiffs sister was pulled over in Plaintiff' s
11   vehicle, and Riverside Police Officers in doing so made specific inquiries as to Plaintiffs location.
12   More, Riverside Police Officers have been photographed parked and/ or driving around Plaintiffs.
13   home which        is located     in Moreno        Valley.        As to the last two stops,            Plaintiff   alleges,   upon

14   information and belief, that the stops are either not within Defendants' jurisdiction, and/ or these
15   contacts were simply for the purposes of harassment and did not relate at all to the Defendants'
16   primary       duty of public safety.         More,           to add to their ongoing and constant discriminatory.
17   harassment and racial profiling, Plaintiff' s hearing on his criminal citation was intentionally set
18   on his birthday to further harass and intimidate Plaintiff.
19                                                FIRST CAUSE OF ACTION

20                                                         General Negligence)

21           12.       Despite their duty to protect and serve and ensure public safety, the law enforcement
22   officers from the Riverside Police Department singled out and pulled over Plaintiff without cause. Said
23   law enforcement officers then confronted Plaintiff and without provocation or justification, intimidated,
24   harassed and verbally assaulted Plaintiff. In doing so, they breached their duty to Plaintiff.
25           13.       Defendants, and each of them, negligently, carelessly, inappropriately,                         recklessly and
26   without cause used hostile and discriminatory harassment toward Plaintiff.
27   1/

28   1/




                                                                      3-

     COMPLAINT       FOR DAMAGES
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 1           14.       As a direct and proximate result of the aforesaid conduct of Defendants, and each of them,
2    Plaintiff Michael Barber, is fearful to drive and has suffered anxiety, shock, anguish and severe emotional
 3   distress, as herein alleged.

4            15.        As a further direct and proximate result of the aforesaid conduct of Defendants, and each
 5   of them, Plaintiff has incurred medical and related expenses, all to his monetary damage, including bul
 6   not limited to medical and related expenses.

 7           16.        As a further direct and proximate result of the aforesaid conduct and carelessness of
 8   Defendants, and each of them, Plaintiff has necessarily suffered loss of earnings and income, and earning
 9   capacity, and will continue to suffer such loss of earnings and earning capacity in the future, all to
10   Plaintiff' s' further special damage in an amount presently unascertained, and Plaintiff prays leave of Court
11   that when said amount is ascertained, he may be permitted to amend this pleading to set forth the full
12   amount thereof with appropriate allegations.

13                                           SECOND CAUSE OF ACTION

14                                             Violation of 42 U. S. C. § 1983)

15                             Deprivation of Due Process Rights Under 14th Amendment]

16           17.        Plaintiff realleges and incorporates by reference all paragraphs of the First Cause of Action
17   as though fully set forth herein.
18           18.        At all times mentioned herein, Defendants and each of them, separately and in concert,
19   acted under color of law, to wit, under the statutes,         of the State of California   and the ordinances,

20   regulations, customs, orders, protocol, manuals, directives and practices of the City of Riverside and the
21   Riverside      Police Department.   Each of the Defendants, separately and in concert, acted outside of the
22   scope of his or her jurisdiction and without authorization of law, willfully and knowingly, to deprive
23   Plaintiff, Michael Barber of his right to freedom from cruel and unusual punishment and from state-
24   occasioned harm, injury, and damage to bodily integrity.
25            19.       The conduct of Defendants and each of them, was in wanton, reckless, willful and

26   malicious disregard for the safety of Plaintiff, Michael Barber.
27           20.        As a direct and proximate result of the Defendants' acts and/ or omissions in depriving
28   Plaintiff, Michael Barber of his rights, privileges and immunities secured to him by the laws of this state


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     COMPLAINT        FOR   DAMAGES
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 1   and nation, Plaintiff was subjected to hostile discriminatory harassment and has incurred the damages as
2    described herein.

3              21.       Plaintiff alleges that Defendants' policies and practices with respect to discriminatory and
4    harassing conduct reflect a deliberate indifference to the safety of citizens of the City of Riverside, and of
5    criminal suspects, and are so callous and malicious as to show an intent to inflict unnecessary intimidation,

6    humiliation and fear on people, including those they purport criminal suspects.
7              22.        Plaintiff is informed and believes and thereon alleges that Defendants and each of them,

 8   are responsible for implementing, maintaining, sanctioning and/ or condoning a policy, custom or practice
9    under which the Defendants and/ or their agents and/ or employees committed the aforementioned illegal

10   or   wrongful     acts.   Plaintiff is informed and believes that the conduct of the officers who intimidated and

1I   harassed Plaintiff, was consistent with the training and the policy set forth by Defendants, City of
12   Riverside, Riverside Police Department, and Does 1 through 25, inclusive, regarding discrimination and
13   discriminatory harassment, and that the use of intimidation and discriminatory harassment is ratified by
14   said Defendants.

15             23.        Defendants,     and each of them, are liable for the injuries and damages alleged herein

16   because they knew or should have known of the customs, practices, policies and acts of the officers who
17   caused the injuries to Plaintiff and authorized and acquiesced in the customs, practices, policies and
18   commissions of such acts. Defendants knew or should have known that acts and/ or omissions similar to

19   those complained of were likely to occur and that such persons committing such acts and/ or omissions
20   had a propensity and a character to commit such acts and/ or similar acts.
21             24.        Defendants are responsible for implementing, maintaining, sanctioning and/ or condoning
22   a policy, custom or practice under which the officers and other Defendants committed the aforementioned
23   illegal   or    wrongful    acts.   Defendants, and each of them, maintained or permitted an official policy or
24   custom of knowingly permitting the occurrence of the type of wrongs set forth above and, based upon the
25   principles set forth in Monell v. Department of Social Services of City of New York( 1978) 436 U. S. 658.
26   98 S. Ct. 2018, 56 L.Ed2d 611, are liable for all injuries sustained by Plaintiff as set forth herein.
27

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     COMPLAINT FOR DAMAGES
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 1          25. The above described policies and customs demonstrate a deliberate indifference on the part of
2    policymakers of the City of Riverside, and the Riverside Police Department to the constitutional rights of
3    persons within the city and were the cause of the violations of plaintiff' s rights alleged herein.
4                                          THIRD CAUSE OF ACTION

5                                           Violation of 42 U. S. C.§ 1983)

6                                   Failure to Properly Select, Train, Supervise
7                                            and Discipline     Employees]

 8          26.     Plaintiff realleges and incorporates by reference all paragraphs of the First and Second
 9   Causes of Action, as though fully set forth herein.
10          27.     At all times mentioned herein, Defendants, City of Riverside, through the Riverside Police
11   Department and Does 1 through 25, inclusive, and each of them, were charged with the selection,

12   assignment, discipline, and discharge of officers and employees of said department. At all times material

13   herein, Defendants, DOES 1 through 25, inclusive, had the power and authority to discharge and reassign
14   sworn personnel of the Riverside Police Department who were, or were believed to be, emotionally
15   unstable, untrustworthy, and/ or prone to the use of unreasonable or excessive force, or who otherwise
16   exhibited tendencies, traits of character, behavior, habits, conduct and/ or attitudes which rendered such

17   sworn personnel unfit or undesirable for the positions of law enforcement officers assigned to patrol duties
18   involving the apprehension and arrest of criminal suspects.
19           28.     Plaintiff alleges that on two occasions, including but not limited to March 22, 2021, the
20   Defendants, and each of them, did nothing to ensure that police officers hired by the City of Riverside
21   were screened to eliminate those officers who were inclined to use excessive force against citizens and

22   people they purported to be criminal suspects. Because of this, plaintiff alleges that Defendants, DOES 1
23   to 25, who were hired tended to be more wanton and reckless with regard to the safety of citizens and

24   criminal suspects than those in other police department in the State of California generally.
25           29.     Plaintiff alleges that on two occasions, including but not limited to March 22. 2021, and
26   for some time prior thereto, Defendants and each of them, knew, or in the exercise of reasonable care
27   should have known, that Defendants, and Does 1 to 25, inclusive, had a tendency to use unreasonable

28   and/ or excessive force resulting in unwarranted harm to people, including those they purported to be


                                                           6-

     COMPLAINT FOR DAMAGES
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 1   criminal    suspects.     At all times mentioned herein, Defendants, and each of them, knew or in the exercise

2    of reasonable care should have known that such tendencies were likely to cause unwarranted injury to
 3   criminal suspects.

4               30.    Plaintiff alleges that on two occasions, including but not limited to March 22, 2021, and
 5   for some time prior thereto, Defendants, and each of them, promulgated vague and contradictory written
 6   policies and procedures that failed to provide officers with meaningful guidance with respect to the use of
 7   force and the use of deadly force and racial profiling. The lack of guidance has resulted in indiscriminate
 8   actions by police officers of the Riverside Police Department and resulted in the wrongful discrimination
 9   and harassment to Plaintiff, Michael Barber.

10              31.     Defendants have failed to implement policies and procedures for the meaningful reporting,
11   monitoring, investigation and disciplining of those police officers involved in misconduct.
12              32.    The direct and immediate result of the systemic failure to properly select, train, supervise,
13   investigate and discipline officers resulted in a pattern of racial profiling.
14              33.     By reason of the aforementioned acts and omissions of Defendants, and each of them,
15   Plaintiff, Michael        Barber   was    singled   due   to   his    race (   African   American),   and financial   status and

16   subjected to intimidation, discriminatory harassment by officers from the Riverside Police Department.
17   Furthermore, by reason of the aforementioned acts and omissions, Plaintiff, Michael Barber was deprived
18   of his civil and constitutional rights by defendants, thereby injuring Plaintiff as more fully described
19   herein.

20                                                FOURTH        CAUSE OF ACTION

21                                            Violation of California Civil Code §52. 1)

22                           Deprivation of Individual Rights Secured by the Constitution of the
23                                            United States and the State of California]

24                                                       Against All Defendants)

25              34.     Plaintiff realleges and incorporates by reference all paragraphs of the First, Second, and
26   Third Causes of Action as though fully set forth herein.
27              35.     At all times mentioned herein, Defendants and each of them, separately and in concert,
28   acted under color of law, to wit, under the statutes,                      of the State of California     and the ordinances,




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     COMPI, AINT FOR DAMAGES
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 1   regulations, customs, orders, protocol, manuals, directives and practices of the City of Riverside and the
2    Riverside Police Department.        Each of the Defendants, separately and in concert, acted outside of the
3    scope of his or her jurisdiction and without authorization of law, willfully and knowingly, to deprive
4    Plaintiff, Michael Barber of his right to freedom from cruel and unusual punishment and from state-
5    occasioned harm, injury, and damage to emotional integrity.
6              36.    As a further, direct, and proximate result of the aforementioned conduct of Defendants and
 7   each of them, Plaintiff has suffered general and special damages in an amount according to proof at trial.
 8             37.    Pursuant to the provisions of California Civil Code §52, Plaintiff is entitled to and demands
 9   an award of three times the amount of actual damage suffered by Plaintiff, to be determined according to
10   proof at trial, and such attorney' s fees as may be determined by the court in addition thereto.
11                                            FIFTH CAUSE OF ACTION

12                                     Intentional    Infliction    of Emotional   Distress)

13                                                   Against All Defendants)

14             38.    Plaintiff incorporates and re- alleges each allegation set forth above as if fully set forth
15
     herein.

16
               39.    On two occasions, including but not limited to March 22, 2021, Defendants subjected
17
     Plaintiff to racial profiling, discrimination, harassment, and/ or discriminatory and retaliatory policies,
18
     based upon his race/ ethnicity.
19
               40.    Defendants wrongfully and unlawfully, intentionally intimidated and harassed Plaintiff,
20
     Michael Barber, by singling out Plaintiff due to his race by pulling Plaintiff over, without cause and
21
     subjecting plaintiff to intimidation, hostile and discriminatory harassment.
22


23             41.    By reason of this racial profiling and the acts and conduct of Defendants as aforementioned,
24   Plaintiff was placed in great fear for his life and physical well- being.
25             42.    Defendants acted with reckless disregard of the probability that Plaintiff would suffer
26   emotional distress, knowing that the conduct in question was directed to Plaintiff and was consistent in
27   nature.


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     COMPLAINT       FOR DAMAGES
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 1            43.             Plaintiff suffered severe emotional distress; specifically, this extreme and outrageous

2    conduct caused emotional distress, humiliation, and degradation                 to Plaintiff. Defendants'   conduct was a

3
     substantial factor in causing Plaintiff' s severe emotional distress.
4
              44.             The aforementioned       conduct constitutes fraud, malice, or oppression, thereby entitling
 5
     Plaintiff        to   punitive damages.     Plaintiff is informed    and believes   and thereon   alleges that such conduct
 6
     was taken by police officers of the City of Riverside Police Department who authorized, ratified, of
 7
     approved such conduct.
 8
              45.             As a proximate result of the aforementioned violations, Plaintiff has been damaged in an
 9
     amount according to proof at trial, and seek all monetary damage, including but not limited to medical
10
     and related expenses, interest, penalties, attorneys' fees and expenses and costs of suit.
11
              WHEREFORE,                  Plaintiff seeks damages as follows:
12
                                                    AS TO ALL CAUSES OF ACTION
13
                 1.           GeneraI     damages —    in an amount to be proven at trial and above the jurisdictional
14
                              minimums of this court;
15
              2.              Special damages—      in an amount to be proven at trial;
16
              3.              Punitive damages—       against individual Defendants, in an amount to be proven at trial; and
17
              4.              Attorney' s fees and costs of suit incurred herein and for such other and further relief as the
18
                              court deems just and proper.
19

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                                     0,                                   MCCUNE. WRIGHT. AREVALO, LLP
     Dated:      September (              2021
21

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23                                                                        By:
                                                                                 Joseph L. Ri
                                                                                               OP-
                                                                                                 ardson

24                                                                               Attorneys f    Plaintiff

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     COMPLAINT FOR DAMAGES
